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CONF§DENT!AL SETTLEMENT AGREEMENT AND
RELEASE OF FLSA CLAU\AS

an's Serriernenr Agreernen‘r (nererndrrer referred fe ds “Agreernenr"),
is enrered inrb by dnd berween §krc;me E§merdi`, On bendfr cr nerse[f, her
neirs, execurers, ddrninis’rrdrors, iegd§ rebresenrdri\/es end designs
(nereindfrer referred re cerrecrrveiy crs “Errnerdi”) end PHP Eni'erprises, an,,
end Prakdsh Pdi'ei, §nd§v§dua§iy, dnd rneir respecrive present bds‘r, dnd
furure dffiiidres, bredecessors, beirs, successors, bdrenrs, subsididries,
dssigns, inserers, dnd eden dnd every one of rneir resbe<:rive owners
sndrenoiders, servdnrs, officers, directers, employees, dgenrs, princibdfs,
reldri\/es, rebresenrdrryes, beneficiaries, direr egos, dnd dribrneys
(nererndrr`er referred re cc§recrr\/e!y ds “Tne Reledsed Pdrr?es").
aneugnour rn§s AQreemenr, Eimerdi dnd Tne Re!edsed Pdr’ries snde
cel!ecri\/e!y be referred re ds rne “Pdrr¥es." Tn§s Agreemenr sndi¥ nor rn dny
Wdy be censrrued ds dn ddmissien by Tne Reiedsed Pdrries dr dny
vreldr‘ien er dny EdW dr dny diner l§dbi!i’ry including common IdW iidbifh‘y re
Eirnerd§.

WHEREAS, Elmerdi st embrey/ed by PHP Enrerbrises, inc., dnd

WHEF<‘EAS, E!rnerdi nds dileged unmer ernr>leyr‘nenrL brd<;r§c:es in
yioidridn cf rbe Fdir Ldber Srdnddrds Acr ("FLSA") dgdinsr Tne Reledsed

Pdrr§es (dilegdriens Wrrrcn rne Reledsed Pdri'les venernen‘riy deny}, by filing

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d ieyysui'i siyied Eimerdi v. PHP Enierbrises, lnc., end Prei<osh Perei, Cese
No. i:i5~cv~i 604~MHC, Norihern Disirici' or Georgie;

WHEREAS, ihe Periies now desire io end de seiiie eii cidirns by
Eirnerdi rhei Were or could heve been esseried;

NOW WHEREFORE, in considere‘iion of ihe promises end muiuei
covenenis herein conieined, ihe suriiciency or Which is hereby
eci<nowiedged, ihe Peri'ies hereio eeree es ioiiows:

i, The Reieesed Pcrriies egree io bey io Eirnerdi ihe ioidi emoeni
or Fourieen Thousend Eighi Hundred & Fiii'y Fiye Doiidrs end QO/iOG cenis
(;_'piA-,BSS.QO), Which inciudes eiiorneys’ fees end cosis, e|ieceied de
ioi|o\/\/s:

A. A beyroii check in ihe emouni di SS,O¢H .i¢i mede beyebie io
ii<rerne Eimerdi, ier unbdid everiime combenseiion end for which d W-Q
sheii be issued i'o Eimerdi;

B. A checi< in ihe emouni of $3,04i .i¢i mede beyebie id ii<reme
Eirnerdi, rebreseniing iiduideied demeges. Ne deduciions shell be mede
from i'his check end d Fernn iO%> sheii be issued io Eirnerdi; end

C. A checi< in ihe emouni of $8,772.92 rhode bdyebie 'i'o her

erierneys, Berrei’i & Fereheny, LLP, for errorney's fees end cosis, for Which

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e i099 shell be issued, which is specificelly elloce’red lo Elrnerdi‘s FLSA
cleinns.

Seiilerneni peynneni‘s described eboye wili be due in Pleinlii'i's
counsei's office (c/o Berreii & ?ereheny, i_LP, iin Peechiree S‘rreel, l\lE,
.Suiie 500, Allenie, Georgie 30309) wiihin ren (lO) business deys or lhe lesrL
of ihese ihree (3) evenls: (l) Elmerdi signing ihis Agreerneni; (2) ihe
revoceiion period expiring; end (3) ihe Disi’rici Courl epproying ihis
seillen'ienl. Elrnerdi egrees id indemnify end reimburse The Releesed
Perlies for eny rex lidbiii'iy, iines, peneii'ies or inieres"r essessed by ihe
lnlernel Reyenue Service or Jrhe Georgie Deper‘irneni' o'i Reyenue eeeinsr
ihe Releesed Periies ii such liebilily is on eccouni oi ihe elloceiion
described eboye.

2. Elnnerdi egrees ihei ihis is d dispuied cleirn end represenls ihe‘i
upon receipi of eil of ihe eboye meniioned funds she wiil hoye been peid
in iull for eny end ell elleged becl< weees, lieuide'led demeees end
eiiorneys’ rees for eli hours worl<ed while employed wiih The Reieesed
Periies, including eny overiirne hours worl<ed while in eny non~e)<empi job
posiiion, end will dismiss her Fl_SA cleirns wi’rh prejudice wii'hin 3 business
deys of ihe end of ihe revoceiion period described below in pereereph

i‘?e. l\loihing in ihis Agreen'ienl shell be consirued es d releese oi dny

\_A.)

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cleims or demeges, eperi irorn Elrnerdi’s Feir l_ebor Sienderds Aci (“FLSA”)
cleim end demoges sremming rhereirom.

3. By eniering inio rhis Agreemeni, no Periy edmiis eny liebiliiy,
ieuli or wrongdoing

4. Confideniieli‘iy. E)<cepr where compelled by lew, Eimerdi
egrees nor re disclose or pubiicize ihe ierrns or exisience of ihis
Agreemeni io enyone oiher ihen her spouse, eiiorney end ie)< edyisor or
eccoun‘reni, ell oi whom shell be noriiied oi ihis limi’re'iion end egree io be
bound by ihe ierms of ihese egreemenis prior io discussion or rhese
meiiers. li esl<ed dboui ihis meiier by enyone else, Elrnerdi egrees only io
sieie ihe'i she hes elecied noi 'l’o pursue ihe meiier iurl'her. li Eimerdi
yieleies ihis provisi n es found by o couri oi iew, Elmerdi shell pey The
Releesed Per’ries $SOO.

5. Non-Disperegemeni. l\io Periy shell mel<e or publish or
insiigeie ihe mel<ing or publicd’rion oi eny sieiemenl (in yerbel, wri‘iien or
elecironic or oiher iorm) dispereeing oi ihe oiher Perry, iheir producis,
services eiieirs, peyroll preciices, er oiher opereiions or iheir pesi or
preseni direciors, oiiicers, employees shereholders, owners or egen’rs
wheiher or noi such dispereeerneni consiiiuies libel or slender. li eny

prospeciiye employer or Eirnerdi coni'ecis i\/lr. Prel<esh Peiel, he shell, on

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behel‘i o'i i'he Reieesed Periies, give e neuirel reference only indicei’ing
Elrnerdi’s deies o'i empioymeni, end posilion(s) heid. Eln'ierdi else egrees
never io seek employmeni wiih ihe i?eleesed Periies er eny poini in ihe
iuiure. Noihing in ihis Agreernenl shell impeir, inieriere wil'h, or eiieci
Elrnerdi’s rign‘i io proceed wiih non~Fi_SA cleims egeinsi ihe Releesed
Per'lies end io moi<e or publish eny sieiernen‘r io ihe Reieesed Periies,
counsel, wiinesses, or ihe Couri necessery during li‘iigeiion egeinsi The
Releesed Periies.

6. Eech periy sheli be responsible for peymeni of iheir own
eliorneys' fees end cosis, excepi es provided in Peregreph io

7. Elrnerdi represen'is end werrenis lhei she is euihorized io enier
inio end ihei she hes ihe euihoriiy re periorm ihe ierrns o'i ihis Agreemen‘i.
Elrnerdi represenis end werrenis ihei she nos nor sold, essigned,
irensierree‘, conveyed or olhervvise disposed or eil er eny poriion oi ihe
Reieesed Cleirns.

8. Olher ihen es io ihe express righis end obligei'ions serL iorih in
ihis Agreemenr, end in considere‘i'ion oi ihe provisions promises ierms
end condiiions oi ihis Agreemen‘i, Elrnerdi hereby UNCONDl`ilOl\lALi_Y,
FULLY Ai\iD Fll\lAl_i_Y RELEASES AND FORE\/ER DiSCHARGES ell Releesed

Poriies irorn eny end ell duiies, cleims, righls, compleinis, cherges,

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clemeges, cos‘is, expenses eiiorneys' iees, ell unpeid weges, lieuideied
demeges, eriorneys’ iees, or oi'her form of relief eiiribuieble io eny
violerion oi ihe Fi_S/\. i\loihing in ihis Agreerneni shell be consirued es e
reieese of eny cieims or demeges, openL irorn Elrnerdi‘s Fl_SA cleims end
derneges siemming ihereirom.

ii lS THE li\iTEi\ii OF ELMERDl TO RELEASE Al_L CL/\ll\/iS OF E\/ERY
NATURE AND i<lND Wl-lEii-iER KNOWN OR Ul\ii<l\lOWi\l, ACCRUED OR NOT
ACCRUED, Wl-iiCl-l El_llei?Dl HAD OR lleY HA\/E AGA|NST Tl-lE RELEASED
PARTlES AS OF ii-lE DATE OF THE EXECUTlOl\i Oi: Tl-llS SETTLEMENT
/-\GREEMENT ARlSli\iG UNDER THE FAiR LABOR STANDARDS /\Ci,

9. Eimerdi c~ovenenis nor io hereeiier sue or io euihorize enyene
else io iiie e lewsuii on her beheli egeinsi ihe Releesed Periies on en Fl.SA
cleim end nor re become e member of eny cross suing ihe Releesed
Peri‘ies on eny cleirns reieesed herein Aii‘hough Elrnerdi undersiends ihei
she mey provide iniorrneiion in en invesiigeiion or proceeding conduc"red
by eny governmeni egency, she covenenls end egrees noi io eccep‘i,
recovery or receive eny demeges or eny oiher form of relieic ihei moy erise
our of erin conneciion wiih eny eciion broughi pursueni’ io ihe Feir l.ebor
Sienderds Aci. ln eddiiion, Eirnerdi egrees nor lo induce, inciie, or

encourege cieirns o‘i eny neiure by oihers egeinsi rhe Releesed Pen‘ies.

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iO. li eny provision or rhis /-\greemeni or lhe eppliceiion ’rhereorc io
eny perry or circums’rences shell be deiermined io be invelid or
unenforceeble io eny exieni, ihe remeinder o'i ihis Agreemeni end ihe
eppliceiion of such provisions io eny oiher periy or circumsiences sheil
nor be eiiecied ihereby end sheli be eniorced io ihe greeiesi exieni
permiiied by lew.

ii. 'ihis Agreemeni mey be execuied in eny number of
counierper'l's, eech oi which shell be deemed io be en originel, bu‘i eil oi
which iogeiher sheil consiiiuie one end Jrhe some insirumeni. Fecsimile
end elecironic copies oi ihe execu‘ied Agreemeni shell heve ihe some
force end eiieci es en originel cop»y.

l2. ihis /-\greerneni is binding on eech oi ihe Periies end iheir
respeciive heirs, successors end essigns.

l3. ln ihe even'i' eny Peri’y breeches ihis Agreemeni, ihe non-
breeching Periy shell be eniiiled io enforce ell provisions of rhis
Agreerneni in Couri seeking eli remedies eveileble io ii boih in lew end
eeuiiy., The preveiling Per'iy sheii be eniiiled io recover irs eiiorneys’ rees
end cosis incurred in eny proceeding io enforce rhis Agreerneni,

including oil fees end cos'is ihrough ell eppeels.

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l4. This Agreernenr shelf be governed by end consirued in
eccordence wiih ihe lews or rhe Sieie oi Georgie, wiihoui regerd re irs
choice or lews or conilici or lews principles

i5. E)<cepi es expressly provided herein, ihe periies represeniL end
werreni ihel in execu'iing ihis Agreemeni, ihey do noi rely upon end heve
noi relied upon eny orel or wrii'ien represeniei'ion, promise vverreniy or
undersiending mode by eny of ihe periies or iheir represenieiives wiih
regerd io ihe subjeci meiier, besis or eriec'i or rhis Agreemeni.

ié. ihe Periies ecl<nowledge ihe‘i eech Perly hes periicipe‘l'ed in
ihe dreiiing of ihis Agreemeni end eech hes hed en eeuel oppori'uniiy io
periicipeie in Jrhe drei‘iing oi ihis Agreemeni. No embiguiiy shell be
consirued egeins‘r eny periy besed upon e cleirn l'hel' ihe perry dreiied
ihe embiguous lenguege.

l7 The periies ecl<nowledge end essume ihe risi< ihei eddiiionel
or diriereni iec‘is which ihey believe io exisi mey now exisi or moy be
discovered drier ihis Agreemeni hes been eniered inio. The periies egree
ihei eny such eddiiionel, di‘iiereni or conirery iecis shell in no wey limi'i,
weive, ei'ieci or eiier Jrhis Agreerneni.

i8. Elmerdi ecl<nowledges ihei she hes been edvised io consuli

en ei‘rorney prior io signing ihis egreemenr, end hes in ieci done so. ln

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ihis respeci, Elmerdi hes consuli'ed wiih end been edvised by \/. Severin
Roberis, Eseuire in ihis merrer end is seiisiied ihei lvlr. Roberis hes
expleined ’ro her eil oi her opiions in conneciion wirh ihis /-\greemeni.

i‘?. Aci<nowiedgmeni: By execu‘l'ing lhis Seiilerneni Agreemeni,
ihe Peri'ies ecl<novvledge ihei ihey heve hed e full end ieir opporiuniiy io
obiein legel counsel end oiher counsei regerding ihe ierms end legel
significence o'i ihis Seiilemeni Agreemeni. Elmerdi iuri'her ecl<nowledges
ihei‘, in execuiing ihis Seirlernen“r Agreerneni she does no'i rely on end hes
nor reiied on eny represeniei'ion or sieremeni mode by ihe Reieesed
Periies or eny oi iheir egenis, represenielives, or eiiorneys wiih regerd io
ihe subjec’r meiier, besis, or eiiec`r or ihis Seiilerneni Agreemeni ihei ore
nor conieined in ihis wriiing. By signing ihis Agreemeni, Elmerdi iuriher
egrees end ceriiiies ihei:

(e) she hes cereiully reed end iully undersrends ihe provisions
o‘i ihis Agreemeni, including ihe reieese of ell FLSA cleirns end coveneni'
nor io sue end ihe coniideni'ieliiy provision oi ihis Agreemenl;

lb) she nos rhe righi io end is encoureged re consuli counsel
regerding Jrhe ierrns or ihis Agreerneni;

{c) she is compeieni in ell respecis end duly euihorized io sign

ihis Agreemeni;

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[dj she egrees re fhe terms of ihis _egreen"eni |<no'rvin-§.v,
ve ..rnfen|v, vvifh.eur iniirnioioiiorl, Coero`=on or pressere, end
rel she rives given er ieesr rnrenr~_v-ene [El] devs fo consider
rhis egreerner‘.’r [o|l'hough she con vreive fhe fvven"rv--one fill
dov peried] end rhof she nos seven {?] devs offer exeou'rion end reiurh of
1ine origino| signed doour‘neni io Debre Sohwenz [see be|ovr} re revoke
her egreen‘renf+ lo fhe ferms of ihis egreen=enf, ln fhe evenf fhef E;`rnerdi
vvis?~.-es re revoke fee egreerneni vvitnin rhe seven dev period she shell
send vvrifler‘ nofioe ?`o Delore Sohvrerfz, Soi'rvverlz Fro||'.ns LLC, 945 E. F'ooes
Fe"rv Roed, Suife 22?0, A"ienfe, Ge 3032&.
2f1 inl:'ih i`ne erroeprion el revooo'lion described in lhe previous
poregroph, no oeeoe||elion, modifioolion. ernendmenf, de|efien.
eddifion, or orher ohonges in fhis Eef'l'|en".enr egreemenl', or env provision
hereof or vveivor or env righr herein provided shell be efieoiive for env
p'..='pose unless specifieo||v ser ferih in o wrilren egreemenf signed bv

E|rnerdi end en eurhorized represenieiive of rhe Ee|eosed Perfies.

s f-'i-- 'v:`. '?._ ri_" L-_'_~i'“'_r

 

 

 

fiore
ilcrorne Elrnerdi
_ _____..--""
i'/NA:»
Do’re f

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zsrr”

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ssprese@gsseemmwnedino

Prekesh Polel

 

